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Dear Judge Lamberth.

 I did not understand all the complexities of the situation on January 6th as

I desired to be just part of something bigger than myself. I am no expert in

law, but I have been convicted and must face the music. If I knew what I

know and realize now, I would have just left after the rally and never entered

onto Capitol Grounds. At the time I walked over to the grounds, I did not

understand the officers had been physically fighting with people and under

immense pressure! I ignorantly remained close and engaged in conversation

until things went downhill fast.

 Your Honor i have never been convicted of a crime and am facing your

decision. I am a hard working citizen and will continue to be and follow rules

and guidelines according to what you decide. I am a productive member of

society and a hundred people or so rely on my weekly visits and maintaining

of landscape at their residencies. They trust me with a key or dial code even

to enter properties unattended. Many elderly who can no longer perform the

work rely on me.

 If you find in your heart to have mercy on me with your decision, I will be

the very best version of myself no matter the outcome. Thank you for your

time.

With humble heart,

Isaac Sturgeon
